966 F.2d 1443
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Graham MAJETTE, Plaintiff-Appellant,v.NORFOLK NAVAL SHIPYARD;  William G. Adams;  William Cooper;William A. Freeman;  William A. White, Jr.,Defendants-Appellees,andUNITED STATES OF AMERICA, Defendant.
    No. 91-2373.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 30, 1992Decided:  June 17, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CA-91-81-2)
      Graham Majette, Appellant Pro Se.
      J. Phillip Krajewski, Assistant United States Attorney, Norfolk, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before PHILLIPS, SPROUSE, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Graham Majette appeals from the district court's order denying relief under the Federal Tort Claims Act, 28 U.S.C.s 1346(b) (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Majette v. Norfolk Naval Shipyard, No. CA-9181-2 (E.D. Va.  Nov. 25, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    